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                                                                                                         Form 8

      FORM 8. Entry of Appearance

         UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
               Soverain Software, LLC v. Newegg Inc.          L0\0
                    -----------------------
                                                    No. 2011-1009

                                         ENTRY OF APPEARANCE
        (INSTRUCTIONS: Counsel should refer to Federal Circuit Rules 47.3. Pro se petitioners and
        appellants should read paragraphs 1 and 18 of the Guide for Pro Se Petitioners and Appellants.
        File this form with the clerk within 14 days of the date of docketing and serve a copy of it on the
        principal attorney for each party.)
        Please enter my appearance (select one):
                c=JPro Se               I ./ lAs counsel for:        Newegg Inc.
                                                                     Name of party
        I am, or the party I represent is (select one):
                c::=:JPetitioner c::=:JRespondent c::=:JAmicus curiae c::=:Jcross Appellant
                [Z]Appellant c::=:JAppellee               I     !Intervenor
        As amicus curiae or intervenor, this party supports (select one):                        FILED
                                                                                      U.S. COURT OF APPEALS FO
                c:::J.Petitioner or appellant     c::JRespondent or appellee             THE FEDERAL CIRCUIT
        My address and telephone are:                                                       OCT 2 2· Z010
              Name:                 David C. Hanson
              Law firm:             The Webb Law Firm                        JAN HORBALY
              Address:              700 Koppers Building, 436 Seventh Avenue    CLERK
              City, State and ZIP: Pittsburgh, PA 15219
              Telephone:            (412) 471-8815
              Fax#:                 (412) 471-4094
              E-mail address:       dhanson@webblaw.com
                                    -----=~----------------------------------
        Statement to be completed by counsel only (select one):
                c:::J I am the principal attorney for this party in this case and will accept all service
                for the party. I agree to inform all other counsel in this case of the matters
                served upon me.
                c::=:J I am replacing                  as the principal attorney who will/will not
                remain on the case. [Government attorneys only.]
                CZJ. I am not the principal attorney for this party in this case.
        Date admitted to Federal Circuit bar (counsel only): _41_2_617_6________
        This is my first appearance before the United States Court of Appeals for the Federal Circuit
        (counsel only):
                c::=:JYes     I .t INo

        ~;;~ ;:;s~le to the handicappe~~~eduled.
                Date                                            Signature of prose or counsel
         cc:

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